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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
                                   _____

UNITED STATES OF AMERICA,

               v.                                              20-CR-80A

COURTLAND RENFORD,

                            Defendant.
                                                 _____



                  REPLY TO DEFENDANT’S RESPONSE TO THE
                GOVERNMENT’S MOTION FOR REVIEW OF THE
             MAGISTRATE COURT’S DETERMINATION ON DETENTION



       The United States of America by and through its attorney, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Jeremiah E. Lenihan,

Assistant United States Attorney, hereby files a Reply to the Defendant’s Response to the

Government’s Motion for an Order Revoking the Decision and Order entered by the

Honorable Jeremiah J. McCarthy, United States Magistrate Court, releasing the defendant.

(Dkt. 15).



       The government predicated its arguments upon the four factors set forth in Title 18,

United States Code, Section 3142(g) and the presumption under Title 18, United States Code,

Section 3142(e)(3)(C). In the defendant’s response, he argues that he poses neither a flight

risk nor danger to the community. In arguing that he should be released, he asserts the

following: 1) unknown agitators provoked him, and therefore, he did not form the proper

mens rea; 2) that the defendant’s actions could not have caused widespread harm because he
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threw the fire into an “empty building;” 3) that the defendant has a plan to deal with his

mental health issues; and 4) the defendant is a “young man with a short criminal history of

petty crimes...” (Dkt. 24 p. 20). The defendant’s arguments do little to undermine the

strength of the 18 U.S.C. 3142(g) factors that weigh in favor of detention. Nor do the

defendant’s arguments rebut the presumption of detention. As such, these arguments fall

short of justifying the defendant’s release in accordance with the Bail Reform Act.



       As to his first point, the defendant has offered no evidence to prove that outside

agitators provoked the defendant. It may be true that elsewhere outside agitators engaged in

violent acts during peaceful protests. The facts here, however, do not support such an

assertion. Nor does the evidence suggest any difficulty in proving the defendant’s mens rea,

i.e. that he maliciously or attempted to damage and destroy Buffalo City Hall. In fact, the

defendant’s intent has never been in question. He is captured on news camera footage

deliberately setting fire to Buffalo City Hall.    Additionally, he provided post-Miranda

admissions on multiple occasions admitting such.



       While the defendant’s intent has been clear from the moment this fire occurred, what

remained less clear was the defendant’s motive. In his response, the defendant suggests that

he happened to be surrounded by “anarchist groups, trained to target and influence otherwise

peaceful protestors…” (Dkt. 24 p. 12). The response suggests that the defendant was the

“perfect target” for these anarchist groups. Again, zero evidence exists to support this

assertion. Moreover, since the government’s initial filing, the government has gained a

greater understanding into the defendant’s motive: to cause destruction and mayhem in

Buffalo, NY on May 30, 2020.


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       The government obtained video surveillance video from 7-11 on the corner of

Elmwood and Summer Avenues, Buffalo, NY. At approximately 10:10 p.m., a large group

of individuals shattered front door of the 7-11 and began looting. The defendant was on the

front lines of this effort to loot and cause damage to this 7-11.



       As items were being thrown through the windows, an individual with his shirt off

believed to be the defendant is seen captured in front of the store:




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       As the glass shatters on the front door, the defendant is one of the first individuals seen

entering the 7-11:




       He is then captured on video jumping the counter:




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       Approximately one (1) minute later, the defendant is captured on video with no shirt,

wearing black pants, with a bun on the top of his head, wearing the same distinctive Chanel

face mask as captured on video in Niagara Square, with items in his hand:




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He goes back into the store and jumps the front counter:




He then leaves the store, carrying an item in his hand:




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       After the defendant commits this burglary, he proceeds towards Niagara Square. As

previously argued, he remained in Niagara Square after a curfew had been initiated and

engaged in the charged offense.



       Further, upon searching the defendant’s phone pursuant to a federal search warrant,

on the morning of June 1, 2020, a short time before the police arrived at his residence, the

defendant sent text messages discussing how he needed to change his appearance by cutting

his hair and getting a chest tattoo.



       Not only does the looting incident and the defendant’s intent to change his appearance

crystalize the defendant’s motive – to engage in destruction in this community and get away

with it – but it also demonstrates that the defendant’s word cannot be trusted. In his

videotaped post-Miranda interview, the defendant was asked if he went to a 7-11 on the night

of the incident. The defendant told Agents that he went to the 7-11 on Auburn Avenue,

watched the manager lock the door and “saw a guy rip the door and break the glass.” He said

he was in 7-11 for a “split second” and then walked out. The video evidence squarely

contradicts the defendant’s claim.




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       The defendant’s lack of credibility dovetails into the fact that he cannot be believed

that he will be able to execute a “plan” to address his mental health and substance abuse

issues. (Dkt. 24 p. 20). Not only has the defendant failed to present his “plan,” and therefore

not met his burden under Title 18, United States Code, Section 3142(e)(3)(A), he cannot be

believed. The Court should view any assertions made by the defendant with deep skepticism.



       Further, the defendant minimizes his criminal history by categorizing his history as

that of “petty thefts.” As argued previously, the defendant has engaged in theft-related

offenses that has led to periods of incarceration. Moreover, he has a history of violence with

weapons. These criminal offenses have occurred in the past two (2) years when the defendant

stated that he need mental health and addiction services. He, by his own admission, “began

to ween himself off his prescripts and self-medicate[d] as opposed to reporting to health care

physicians his issues with medications.” (Dkt. 24 p. 19). There is no reason to believe that

he will now abide by the terms and conditions of release, including mental health and/or

alcohol/drug treatment and services.



       Finally, as to the defendant’s assertion that the Court should not place much weight

on the nature and circumstances of the offense charged because he set fire to an “empty

building,” this Court should also reject this argument. (Dkt. 24 p. 19). That is because

common sense and Congress, for that matter, dictates otherwise. Congress has identified this

offense an act of terrorism. See 18 U.S.C. § 2332b(g)(5)(B). And, since the government’s

initial filing, the Second Circuit described the throwing of a Molotov cocktail into an empty

police vehicle as “serious,” and that the actions of the defendants “could well have resulted

in significantly more harm than it did.” United States v. Mattis, 2020 U.S. App. LEXIS


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20427, *15-16 (2d Cir. 2020). Without question, the nature and circumstances of this offense

are serious and could have caused grave harm to the public, including protestors, police and

fire personnel.



       As the Court is well aware, in determining bail, courts are to make “individualized

assessments based on specific factors set forth in 18 U.S.C. Section 3142(g).” United States

v. Nunez, 2020 U.S. Dist. LEXIS 68934, *6 (S.D.N.Y., April 20, 2020). An individualized

assessment of the factors here warrant the defendant’s detention. The defense in its papers

seeks to contrast the facts here to the cases the government set forth in its initial filing. By

citing those cases, such as United States v. Hill, United States v. Malizio, and United States

v. Ellison, the government is not trying to make factual comparisons. The defendant is not

charged with narcotics-related offenses like the charges in those cases. Rather, the purpose

was to discuss the guiding principles taking into consideration in those cases. The facts may

differ, but the principles remain true. For example, electronic monitoring is, at times, such as

here, insufficient here to adequately protect society and prevent flight. That principle held

true in United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993), which discussed how

electronic monitoring can be “circumvented” and “rendered inoperative.”




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       Similarly, allegations of committing arson during social unrest has led Courts in

United States v. O’Donnell and United States v. Densmore to detain the defendants pretrial.

Those Courts discussed the heavy weight to be given to the first two (2) factors under 18

U.S.C. § 3142(g). Similar to here, those Courts, upon weighing the factors in the Bail Reform

Act detained the defendants. Individualized assessments rendered detention in those cases

appropriate. Just like an individualized assessment warranted the release of the defendants

in Mattis, supra, 2020 U.S. App. LEXIS 20427.            There, although the Second Circuit

ultimately upheld the District Court’s order of release, the Court went to great lengths to state

that appellate review “constrained” their review and that the Court “would not necessarily

have reached the same conclusion…” Id. at *16, 28. Here, the review is much different, as

this Court has the ability to undertake a de novo review. Moreover, the factors in Mattis,

particularly the history and characteristics of the offense, weighed heavily in favor of release,

as those defendants were professional lawyers with no criminal history, had strong

reputations, and could post $250,000 bonds. That stands in stark contrast to the defendant,

an individual who has a criminal history 8 arrests, lacks employment, frequently consumes

alcohol, has not treated his mental health issues, lied to investigators, looted, discussed

changing his appearance, and offered a miniscule bail amount. Moreover, setting fire to a

police vehicle, although extremely serious, pales in comparison to setting fire to an iconic

building in downtown Buffalo in close proximity to a group of people including protestors

and first responders. The facts here are different. An individualized assessment under the

Bail Reform Act warrants detention.




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       When taking the totality of the circumstances into account as set forth in Title 18,

United States Code, Section 3142(g), as well as the presumption of detention in accordance

to Title 18 3142(e)(3)(C), there is no condition or combination of conditions that can

reasonably assure the defendant’s return to court or the safety of the community. The

Magistrate Court’s conditions of home incarceration with electronic monitoring, along with

cash and signature bonds, are insufficient to assure the defendant’s appearance or sufficiently

protect society. For these reasons, the government continues to request that this Court revoke

the Magistrate Court’s decision and order the defendant’s continued detention pending trial.



       DATED: Buffalo, New York, July 9, 2020.


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